
669 S.E.2d 743 (2008)
Janell Wylma McMickle BRYANT, Employee
v.
TAYLOR KING FURNITURE, Employer Wausau Insurance Companies, Carrier.
No. 167PA08.
Supreme Court of North Carolina.
December 11, 2008.
Randy D. Duncan, for Bryant.
*744 Jennifer L. Gauger, Charlotte, for Furniture, et al.

ORDER
Upon consideration of the petition filed on the 14th day of April 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 11th day of December 2008."
Plaintiff shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
